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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 ST. MARY CATHOLIC PARISH IN
 LITTLETON; ST. BERNADETTE                                         Case No. 1:23-cv-2079-JLK
 CATHOLIC PARISH IN LAKEWOOD;
 DANIEL SHELEY; LISA SHELEY; and
 THE ARCHDIOCESE OF DENVER,

 Plaintiffs,                                                   PLAINTIFFS’ RESPONSE TO
                                                                 DEFENDANTS’ NOTICE
     v.                                                         REGARDING POST-TRIAL
                                                              DEVELOPMENTS (ECF NO. 110)
 LISA ROY, in her official capacity as Executive
 Director of the Colorado Department of Early
 Childhood; and DAWN ODEAN, in her official
 capacity as Director of Colorado’s Universal
 Preschool Program,

 Defendants.


   Defendants’ Notice changes nothing and shouldn’t delay the Court from resolving this case

expeditiously and in Plaintiffs’ favor. Indeed, while there are good reasons why this Court need

not even consider Defendants’ thirteenth-hour Notice, even if it does consider it, the proposed

amended language further supports Plaintiffs’ claims.

   First, this case’s record is closed, and has been for two months. See Joseph v. Terminix Int’l

Co., 17 F.3d 1282, 1285 (10th Cir. 1994) (affirming denial of motion to reopen). Defendants don’t

argue judicial notice, and they don’t ask the Court to reopen the record. Defendants may be un-

happy with the case they developed over extensive discovery, hundreds of pages of briefing, and

a three-day trial—but it is (at least presumptively) too late to change it.

   Second, neither of Defendants’ cited changes is currently in effect and thus cannot alter Plain-

tiffs’ current entitlement to relief. The new provider agreement cited is for next school year. ECF

No. 110 ¶ 2. And the new proposed regulations aren’t set for a public hearing until April 28, and




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won’t take effect until May 30 at the earliest. 1 Defendants’ repeated changes and prior delays sug-

gest it could take even longer.

    Meanwhile, Plaintiffs are suffering harm now. New providers and families can sign up and

begin participating in UPK Colorado at any time. ECF No. 108 ¶¶ 62-63. And “the loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.” Roman Catholic Diocese of Brooklyn v. Cuomo, 592 U.S. 14, 19 (2020). This case is

urgent; the Court should maintain its course of “get[ting] this matter decided as quickly as possible.”

Tr. (Day 3, Court) 453:7-9.

    Third, should the Court (notwithstanding the above) find it appropriate to consider Defendants’

proposed changes, those changes only bolster Plaintiffs’ case. Defendants’ revision of next year’s

provider agreement to remove Paragraph 18(B) simply confirms what Defendants already con-

ceded at trial: they have no “authority” to regulate the Plaintiff preschools’ employment practices.

ECF No. 108 ¶ 158. Plaintiffs’ success on the merits of their employment-related claims is there-

fore plain. Id. ¶¶ 157-69 (also explaining why voluntary cessation doesn’t moot employment

claims).

    As for the new proposed regulations, the only conceivably relevant change Defendants flag

relates to yet another proposed new definition of “congregation” for purposes of the congregation

exception, their third take on the subject since this litigation commenced. ECF No. 110 ¶ 3 (“revi-

sion of the Congregation Preference”); see Revised Proposed Regulations, https://perma.cc/6JSX-

92DE. 2 But with respect to the congregation exception, this Court already identified the key ques-

tion: whether it “allows providers to discriminate on the basis of a particular status enumerated in


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   CDEC Rule Tracker, https://bit.ly/49FhVUp (last accessed Mar. 6, 2024) (Adoption date of
April 28, 2024; Effective date of May 30, 2024).
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   Defendants’ new proposed definition is further evidence of ongoing (yet unsuccessful) at-
tempts to manipulate the UPK regulations in ways that would exclude Plaintiffs from UPK Colo-
rado yet evade this Court’s scrutiny. In particular, this new definition appears to be a calculated


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the nondiscrimination requirements,” i.e., “religious affiliation.” ECF No. 99 at 26. The current

definition certainly does that, as Plaintiffs have explained at length. ECF No. 108 ¶¶ 103-05 & n.7.

And if anything, the proposed new definition only makes that result clearer.

   Under the proposed new definition, a faith-based provider’s “congregation” means “members

of the community that the faith-based provider serves as the faith-based provider defines that com-

munity.” Supra Revised Proposed Regulations at 2. This definition outsources the “congregation”

definition to providers themselves, affording them broad discretion to define their communities
along apparently any lines, including faith-based ones. And many faith-based providers do define

their “congregations” or “communities” based in part on religion; indeed, many faith-based

schools’ reason for existence is to help parents bring up their children in a shared faith—i.e., in

alignment with a particular religious affiliation. Our Lady of Guadalupe Sch. v. Morrissey-Berru,

140 S. Ct. 2049, 2064-66 (2020) (“survey[ing]” the “close connection that religious institutions

draw between their central purpose and educating the young in the faith”); see Tr. (Day 1, Chilelli)

67:12-14 (“Any Catholic” can be a “parishioner” of his geographic parish).

   Defendants presumably would claim that the proposed new definition remains subject to the

Equal Opportunity Mandate. They said that about the current definition, too. ECF No. 109 at 43.

Yet they confirmed at trial that the current definition allows Catholic schools to reserve seats for

Catholics and Lutheran schools for Lutherans. ECF No. 108 ¶ 105. The proposed new definition—




response to arguments made in Plaintiffs’ Proposed Findings of Fact and Conclusions of Law. See
ECF No. 108 ¶ 105. In fact, this is the Department’s third take on what constitutes a “congregation”
in response to Plaintiffs’ attempts to obtain a religious accommodation. See ECF No. 72 at 14
(describing the prior proposed regulatory definition); ECF No. 47 at 3-4 (describing the Depart-
ment’s pre-regulation understanding of “congregation”). These targeted actions confirm that De-
fendants—whatever they are doing—certainly are not neutrally applying generally applicable laws
in the sense contemplated by Smith. See Church of Lukumi Babalu Aye, Inc. v. City of Hialeah,
508 U.S. 520, 535 (1993) (striking down “a ‘religious gerrymander,’ [as] an impermissible attempt
to target petitioners and their religious practices” (internal citation omitted)).

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being far broader than the current one—even more clearly permits that result. And even if (coun-

terfactually) the proposed new definition somehow did not allow the same sort of religious-affili-

ation prioritization that the current definition allows, Defendants at minimum have already con-

firmed that they believe they could, consistent with the UPK statute, allow Catholic schools to

prefer Catholics and Lutheran schools to prefer Lutherans. Id.; see Tr. (Day 2, Odean) 270:12-17.

That alone suffices: “the mere existence of government discretion,” even if not exercised, “is

enough to render a policy not generally applicable.” Fellowship of Christian Athletes v. San Jose
Unified Sch. Dist. Bd. of Educ., 82 F.4th 664, 685-88 (9th Cir. 2023) (en banc) (citing Fulton v.

City of Philadelphia, 593 U.S. 522, 537 (2021)).

                                            *   *     *

   The Court should grant Plaintiffs the relief sought in their Proposed Judgement and Order,

ECF No. 108 at 69-70.



    Dated: March 7, 2024                           Respectfully submitted,

                                                   /s/ Eric C. Rassbach
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                                 CERTIFICATE OF SERVICE

   I hereby certify that I have served the foregoing document on all parties via CM/ECF and as

required by the relevant federal and local rules.

Dated: March 7, 2024                                /s/ Eric C. Rassbach
                                                        Eric C. Rassbach




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